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                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

 UNITED STATES OF AMERICA                              ]
                                                       ]
 v.                                                    ]      No. 3:13-cr-00114
                                                       ]      Judge Sharp
 CRUZ ALEJANDRO AVENDANO                               ]


 ________________________________________________________________________

             MOTION TO LATE-FILE SPEEDY TRIAL WAIVER
 ________________________________________________________________________

        Comes now undersigned counsel and hereby respectfully moves the Court to

 extend the deadline it had previously set for counsel to file the speedy trial waiver in this

 case. For cause, counsel would offer the following:

        (1)     Previously, undersigned counsel notified the Court that he had no

                        opposition to his codefendant’s Motion to Continue the Trial

                        (docket entry 59). Counsel anticipated filing a speedy trial waiver

                        by Tuesday, January 21, 2014.

        (2)     The Court granted a continuance motion, but conditioned the continuance

                        upon Mr. Avendano’s filing of a speedy trial waiver by today,

                        January 21, 2014 at noon. (docket entry 60).

        (3)     Undersigned counsel emailed a request to transport the Defendant to the

                        United States Marshall’s lockup in the United States Courthouse

                        for today, so that he might comply with the Court’s order.

        (4)     The Marshalls brought the wrong Defendant to lockup. Specifically, Mr.

                        Avendano’s brother (also Mr. Avendano) was brought in in place




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